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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO
 In re

 Samuel Jesse Christian Morreale,                     Case No. 13-27310-TBM

 Debtor.                                              Chapter 7

   TRUSTEE’S PRELIMINARY OBJECTION TO THE DEBTOR’S MOTION TO PAY
             CLAIMS IN FULL AND TO DISMISS CHAPTER 7 CASE


          Tom H. Connolly, chapter 7 trustee (the “Trustee”), hereby submits this Preliminary

 Objection to the Debtor’s Motion to Pay Claims in Full and to Dismiss Chapter 7 Case (the

 “Motion to Dismiss”). In support hereof, the Trustee states as follows:

          1.        Although the deadline to object to the Motion to Dismiss is not until December

 24, 2015, the Trustee files this Preliminary Objection because the Motion to Dismiss is actually

 another last-minute attack on Morreale Hotels, LLC’s (“MHL”) highly successful sale process

 for its real estate on Broadway Avenue, set for hearing today in the MHL case. As this Court is

 aware, success in this case is bound up with success in the MHL case, and vice versa. The

 Chapter 7 estate owns a 100% equity interest in MHL and is co-liable with MHL on the loans

 secured by the Broadway property. For tax purposes, MHL is a pass-through entity so tax

 consequences of actions in MHL impact the Chapter 7 estate. The Chapter 7 estate even owns a

 70% interest in the MHL objecting party, Sketch Restaurant, LLC, and is suing to recover the

 other 30% which was given away on the eve of bankruptcy. Consistent with the close

 interrelationship between the two estates, the Motion to Dismiss is yet another attempt to

 interfere in MHL’s case – while doing nothing for creditors in this case.

          2.        At the MHL auction yesterday, Digital Cowboy, LLC (“Digital Cowboy”) was

 the successful bidder at the auction, with a winning bid of $6.55 million—an excellent result by




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 any measure for both the MHL estate and this estate. Granting the relief sought by the Debtor

 would require disapproval of that sale; in fact that is the express purpose of the Motion to

 Dismiss. The Debtor’s attempt to negotiate a side deal with one of the bidders at the auction is

 problematic. The Debtor would have this Court cast aside a sale that is on track to close by

 December 11, 2015 (as Digital Cowboy committed on the record at the auction) in favor of a

 speculative, undeveloped proposal. The better option for creditors of both estates is to take the

 proverbial “bird in the hand” and close the committed sale next Friday.

          3.        The last-minute proposal appended to the Motion to Dismiss is only preliminary

 and thus carries multiple risks and delays for creditors. These risks and delays are wholly

 unnecessary. The preliminary letter agreement (the “Letter Agreement”) that forms the basis of

 the proposed transaction is laden with multiple vague contingencies, including the drafting and

 execution of definitive documentation. See Motion to Dismiss, Ex. A. Furthermore, the Letter

 Agreement provides that the transactions contemplated therein (i.e., the transfer of the Broadway

 Property and the Colfax Property to Digital Cowboy) will be subject to this Court’s approval in

 the MHL case, but it does not specify a process or a timeline for obtaining Court. This is the

 type of issue that one would typically expect to be addressed in even the most preliminary of sale

 agreements; that the Letter Agreement is silent shows how far it is from a “done deal.”

          4.        Although the Debtor’s proposed transaction is not clearly spelled out, at bottom,

 Digital Cowboy—the buyer under either scenario—would pay cash to acquire a fee simple

 interest in the Broadway Property. Given the $6.55 million sale price for the Broadway Property

 via the auction, the aggregate price that will be obtained for both properties through the currently

 pending sale process is likely to exceed the offer outlined in the Letter Agreement. MHL would

 only need to sell the Colfax Property for $2.45 million in order to exceed the anticipated $9




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 million transaction price under the Debtor’s proposal. There is a buyer for the Colfax Property at

 $2.7 million. Regardless, the small potential differences in no way justify the new set of risks

 inherent in the Debtor’s speculative proposal.

          5.        The Motion to Dismiss is also vague regarding actual distributions and payments

 to creditors. The claims resolution and distribution process should be conducted and concluded

 in the ordinary bankruptcy process and subject to this Court’s supervision. The Letter

 Agreement, however, envisions that the funding from Digital Cowboy will be deposited with an

 escrow agent, who will be responsible for making distributions to creditors, apparently subject to

 the Debtor’s intent to continue to fighting with his creditors. See, e.g., Mtn. to Dismiss at n.3

 (stating that the Debtor intends to pay all “valid” claims”) & n.5 (opining on the validity of

 various claims). There already is a disinterested third party able to make distributions – the

 Chapter 7 trustee. The slapdash proposal in the Motion to Dismiss presents no basis to upset

 clear statutory mechanisms in place. That is especially true given the Debtor’s history with his

 creditors and this case. The Debtor asks that the proverbial fox be put back in charge of the hen

 house.

          6.        The Motion to Dismiss also overlooks that the sale of the real property is likely to

 have significant tax consequences. The transfer of the Broadway and Colfax Properties to

 Digital Cowboy for the consideration proposed in the Letter Agreement would likely create a

 significant capital gain and an administrative claim against this estate (as MHL is a single-

 member LLC). The Motion to Dismiss and the Letter Agreement do not analyze the estate’s

 potential tax liability or the ability to satisfy that claim with the proposed funding from Digital

 Cowboy. It shows no recognition of the issue, consistent with the Debtor’s failure to file tax

 returns for years.




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          7.        Overall, the nearly-concluded sale process for the Broadway Property creates a

 clear path for an orderly and successful conclusion to two highly contentious cases. With the

 sale of the Broadway Property for $6.55 million and the forthcoming sale of the Colfax Property,

 the stage is set for significant distributions in this chapter 7 case and a liquidating chapter 11 plan

 in the MHL case. The successful resolution of these cases is a result of the steps taken by the

 Trustee and MHL—opposed by the Debtor at every turn—that brought order, stability, and

 confidence to the process of monetizing the real estate that is MHL’s primary asset. The

 Debtor’s Motion to Dismiss, if granted, would unravel much progress.

          WHEREFORE, the Trustee respectfully requests that the Court enter an order denying

 the Motion to Dismiss and granting such other and further relief as is just and proper.

 DATED: December 4, 2015                                Respectfully submitted,

                                                        BROWNSTEIN HYATT FARBER
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                                  CERTIFICATE OF SERVICE
         I certify that on December 4, 2015, I served a copy of the foregoing document entitled
 TRUSTEE’S PRELIMINARY OBJECTION TO THE DEBTOR’S MOTION TO PAY
 CLAIMS IN FULL AND TO DISMISS CHAPTER 7 CASE (i) by electronic means on the
 parties noted in the Court’s ECF transmission facilities and (ii) by prepaid first class mail to the
 following parties:

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          Bruce Rohde
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                                                    s/Vicki O’Brien
                                                    Vicki O’Brien




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